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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                MISSOULA DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )       Case No. 9:20-CR-00032-DWM
                                              )
MATTHEW MARSHALL,                             )
                                              )
       Defendant.                             )

       DEFENDANT’S NOTICE OF FILING LETTERS IN AID OF SENTENCING



       Defendant Matthew Marshall (“Marshall”), by and through undersigned counsel, hereby

submits the attached letters to aid the Court in fashioning a sentence.



                                              Respectfully submitted,

                                              Margulis Gelfand, LLC

                                               /s/ Justin K. Gelfand
                                              JUSTIN K. GELFAND, #62265*
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                                              *Admitted pro hac vice
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                                     Certificate of Service

      I hereby certify that the foregoing was filed electronically with the Clerk of the Court to be

served by operation of the Court’s electronic filing system upon the Office of the United States

Attorney.



                                             Margulis Gelfand, LLC

                                              /s/ Justin K. Gelfand
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